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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. MJ11-612

10          v.                                           DETENTION ORDER

11 ANTON ROBERT MOORE,

12                                Defendant.

13 Offense charged:

14          Conspiracy to Distribute Controlled Substances.

15 Date of Detention Hearing: December 20, 2011.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with an offense in which detention is presumed. The Court finds

23 defendant has failed to overcome this presumption. Defendant has a lengthy criminal history



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 1 over twenty years long. Each year, he has had contact with law enforcement. He has numerous

 2 felony convictions including prior felony drug convictions. He has a substance abuse problem

 3 and receives methadone to address it. He has had numerous parole violations indicating that his

 4 performance while on supervision has been poor. He faces a mandatory sentence of 10 years of

 5 imprisonment and there is thus an incentive to flee. The Court received very little information

 6 about defendant’s residence, stability in the community, employment, financial status or drug

 7 and alcohol problems.

 8          It is therefore ORDERED:

 9          (1)    Defendant shall be detained pending trial and committed to the custody of the

10 Attorney General for confinement in a correctional facility separate, to the extent practicable,

11 from persons awaiting or serving sentences, or being held in custody pending appeal;

12          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

13 counsel;

14          (3)    On order of a court of the United States or on request of an attorney for the

15 Government, the person in charge of the correctional facility in which Defendant is confined

16 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

17 connection with a court proceeding; and

18          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

19 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

20 Officer.

21       DATED this 20th day of December, 2011.

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23
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge


     DETENTION ORDER - 2
